     Case 4:22-cv-00325-RH-MAF Document 59-2 Filed 10/10/22 Page 1 of 6




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                          Tallahassee Division

AUGUST DEKKER, legally known as               )
KORI DEKKER; BRIT ROTHSTEIN;                  )
SUSAN DOE, a minor, by and through            )    Civil Action No.
her parents and next friends, JANE            )    4:22-cv-00325-RH-MAF
DOE and JOHN DOE; and K.F., a                 )
minor, by and through his parent and          )
next friend, JADE LADUE,                      )
                                              )
                                  Plaintiffs, )
v.                                            )
                                              )
SIMONE MARSTILLER, in her                     )
official capacity as Secretary of the         )
Florida Agency for Health Care                )
Administration; and FLORIDA                   )
AGENCY FOR HEALTH CARE                        )
ADMINISTRATION,                               )
                           Defendants.        )
____________________________________)

  Declaration of Carol Freitas In Support of Defendants’ Opposition to Plaintiffs’
                        Motion for Preliminary Injunction

I, Carol Freitas, declare as follows:

      1.     I am over the age of 18 years and am not a party to this action. I have

actual knowledge of the following facts and if called upon to testify to them could

and would do so competently. I am submitting this Declaration in support of

Defendants’ opposition to Plaintiffs’ Motion for Preliminary Injunction and

Complaint.
     Case 4:22-cv-00325-RH-MAF Document 59-2 Filed 10/10/22 Page 2 of 6




      2.       Florida’s Rule 59G-1.050(7) of the Florida Administrative Code

prohibits Medicaid coverage for medical and surgical interventions meant to “alter

primary or secondary sexual characteristics.” This rule is a much needed regulation

that will protect dysphoric young people from focusing on treatments that may

ultimately seriously harm their physical and emotional health and that overlook

untreated mental health issues and negative social influences and displace other

more effective and less intrusive options.

      3.       As a youth, I was what some describe as “gender non-conforming,” but

I lived in a household where gender expression was strictly aligned with cultural

stereotypes. I was not allowed to wear boys’ clothes or play boys’ sports.

      4.       At puberty I realized I was same-sex attracted with crushes on girls. I

became depressed and anxiety-ridden as fear what “being gay” might mean to how

I lived my life and my family relationships. I later dropped out of high school.

      5.       At age 20 I began to meet other LGBT youth and my life stabilized.

However, I also learned that many masculine females, like me, felt that they were

“born in the wrong body” and were transitioning, so I adopted that persona.

      6.       I went to a gender therapist who diagnosed me with gender dysphoria

and told me that transition was the only treatment that would alleviate my discomfort

and anxiety.




                                             2
     Case 4:22-cv-00325-RH-MAF Document 59-2 Filed 10/10/22 Page 3 of 6




      7.      However, at that time there were gatekeeping standards for gender

transition, which required that I first live as man for six months, including using a

male name, showing a male appearance, and using male spaces. I had very large

breasts and could not pass for a male in male spaces, so I did not pursue testosterone

at that time. I viewed myself as a male trapped in the "wrong body," but my mental

health otherwise was stable.

       8.     In 2014, I revisited the idea of transitioning, believing it would make

me feel better because I was undergoing trauma in various forms. My grandmother

who had practically raised me died. I had suffered severe abuse and neglect in

childhood, and in retrospect believe I was experiencing symptoms of PTSD from

that. I had just become a new mother a couple of months before my brother-in-law

committed suicide.

       9.     I spiraled downward and wanted out. I couldn’t commit suicide because

I was a mother, so I returned to the idea of transition, believing it would help me feel

better. By that time the requirements for testosterone had lessened. I went to Planned

Parenthood for testosterone and was given it right away. I was not given any

information on uterine atrophy, vaginal atrophy, or other effects of testosterone and the

staff did not talk about any of my emotional or mental health issues.

       10.     Four months after starting testosterone, I went to a plastic surgeon for

a double mastectomy. I needed a letter from a therapist and received one from the

                                            3
     Case 4:22-cv-00325-RH-MAF Document 59-2 Filed 10/10/22 Page 4 of 6




therapist who had affirmed me and originally recommended transition. As was true

with testosterone, I was not given any information about the procedure. Instead, I

had a consultation with the surgeon, who said "this is what we are going to do," drew

on my chest, took pictures and asked me what I wanted out of the surgery. He said,

"we'll create a masculine looking chest, you'll look great."

      11.     During the first four months on testosterone menstruation stopped,

my sex drive went way up, my voice deepened, and facial and body hair came in.

As I continued on testosterone, my personality changed drastically and my verbal

abilities declined. Testosterone lowered and muted my emotions and empathy, but

also gave me a lot of energy and a sense of a high. My depression and anxiety

worsened to the point that I was having such severe panic attacks that I could not

leave home. I told my doctors that I thought the testosterone was making the anxiety

worse, but they said no.

      12.     I went to a psychiatrist to deal with the depression and I was provided

with an anti-depressant that really worked. I felt mentally stable and able to address

the trauma that led me to transition.

      13.    Within a month of starting the anti-depressant, I realized that I had not

needed to transition. It was the biggest mistake I had ever made. I did not detransition

for a year because I couldn't believe that it was so easy, i.e., that anti-depressants

alleviated my depression and enabled me to think clearly and reason better. This


                                           4
     Case 4:22-cv-00325-RH-MAF Document 59-2 Filed 10/10/22 Page 5 of 6




allowed me to address my internalized homophobia and childhood abuse through

therapeutic means.

      14.    Meanwhile, my health began going downhill. Before going on

testosterone, I had no health problems. After being on it for four years, I was pre-

diabetic, had high cholesterol, and had a high red blood cell count to the point that

doctors were recommending that I donate blood to reduce the volume.

      15.    I stopped taking testosterone and four months later my blood work was

back down to normal. I thought to myself "How do they [doctors] not know about

this?" Going off testosterone allowed me to finally sleep. I felt like I never slept all

the time that I was taking testosterone. Going off testosterone also helped with

empathy and other emotions. My personal relationships, including my relationship

with my wife, were better.

      16.    I believe that healthcare providers did not ask me about mental health

issues because they believed that those issues were caused by gender dysphoria and

that transitioning would fix the problem. In fact, the opposite was true.

      17.    Florida’s Rule is necessary and essential because it will give gender

dysphoric people the chance to work through and address their underlying issues

such as depression, trauma, or PTSD effectively without doing their body harm and

undermining their health. I would have been spared physical, psychological, and

emotional losses if I had received a proper diagnosis and treatment for PTSD and


                                           5
     Case 4:22-cv-00325-RH-MAF Document 59-2 Filed 10/10/22 Page 6 of 6




depression instead of undergoing years of medical and surgical interventions.

Prioritizing treatments focused solely on gender dysphoria caused my doctors to

miss the real mental health issues that should have been treated by other more

effective, less destructive means.

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 3, 2022.

                                              /s/ Carol Freitas
                                              Carol Freitas




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